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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Daniel Murphy
                                    Plaintiff,
v.                                                      Case No.: 1:15−cv−08673
                                                        Honorable Milton I. Shadur
Village of University Park
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 6, 2017:


       MINUTE entry before the Honorable Milton I. Shadur:Plaintiff's motion to
enforce order on attorney's fees [49] is moot.Mailed notice(clw, )




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